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                       UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                             Case No. 1:18-CR-00258-BLW

        Plaintiff,                           ORDER ON DEFENDANT
                                             KRISTINA BABICHENKO’S
          v.                                 OBJECTION TO EXPERT
                                             NOTICE
  PAVEL BABICHENKO,
  GENNADY BABITCHENKO,
  PIOTR BABICHENKO,
  TIMOFEY BABICHENKO,
  KRISTINA BABICHENKO,
  NATALYA BABICHENKO,
  DAVID BIBIKOV,
  ANNA IYERUSALIMETS,
  MIKHAIL IYERUSALIMETS,
  ARTUR PUPKO,

        Defendants.



                                 INTRODUCTION

      Before the Court is Defendant Kristina Babichenko’s Objection to the

Government’s Expert Notice of Testimony Regarding Eurasian Criminal

Enterprise and Translation (Dkt. 531). For the reasons explained below, the Court

will overrule the pre-trial objection.




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                                  BACKGROUND

       In its May 9, 2020 notice of rebuttal experts, the Government filed a Notice

of Intent to Introduce Expert Testimony Regarding Eurasian Criminal Enterprise

and Translation. Dkt. 517. Therein, the Government indicated it may call Robert J.

Hanratty, as an expert in Eurasian Crime. Id. at 2. The notice is as follows:

       The United States may call Federal Bureau of Investigations (FBI)
       Supervisory Special Agent Robert J. Hanratty as an expert in Eurasian
       crime—including organized crime—to testify on its behalf at trial. The
       United States anticipates that Agent Hanratty will testify that he has
       worked Eurasian crime since approximately 2011, both as a Special
       Agent and Supervisory Special Agent, and has focused almost
       exclusively on the former Soviet Republics, including Russia. Agent
       Hanratty is expected to testify about the working and mechanics of such
       criminal organizations, including international money laundering.
       Agent Hanratty has participated in more than 50 money laundering
       investigations and has actively worked at least 20 criminal enterprise
       investigations, half of which were Russian- related investigations. He
       has conducted investigations into criminal enterprises tied to people
       from the former Soviet Union, including through conducting
       surveillance, reviewing records, participating in Title III wiretaps and
       other electronic surveillance techniques. His work has included, among
       other things, dealing directly with cooperators, including Russian
       cooperators, and Confidential Informants and sources. He has directly
       debriefed at least 50 sources and witnesses related to Eurasian
       organized crime.

Dkt. 517 at 2-3.

And:

       As part of his duties and responsibilities, he has trained other agents on
       the subject of money laundering. He is expected to testify about the use
       of shell companies and nominees to further conceal criminal financial
       conduct and beneficial ownership of accounts as related to Eurasian



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      organized crime.

Id.

      Defendant argues the Government should be precluded from introducing

testimony related to Eurasian criminal enterprise for two reasons: (1) it is not

rebuttal evidence because it is not responsive to anything in Defendants’ notices of

intent regarding expert testimony; and (2) it is irrelevant. Dkt. 531 at 4-5.

      The Government argues it anticipates Defendants may testify at trial about

movement of money through substantial international transfers. Dkt. 561 at 2.

These transfers allegedly included a cash deposit into Defendant Kristina

Babichenko’s primary business account of more than $1,400,000. Id. The

Government agrees that, at this time, evidence regarding Eurasian criminal

enterprises money laundering “is not yet relevant.” Id. at 2-3. The Government

argues the Court should not make an admissibility determination now for that same

reason. Id. The Government argues also that it made the disclosure to defense

counsel out of an abundance of caution—because Rule 16 of the Federal Rules of

Evidence mandates only the notice of expert witnesses anticipated to be called

during the Government’s case-in-chief. Id.

      In reply, Defendants urge the Court to make a ruling on the admissibility of

the rebuttal testimony now because Defendants need to know whether evidence

about Eurasian organized crime will be admitted as soon as possible—not after they



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rest their case-in-chief. Dkt. 536 at 2-3.

                                    DISCUSSION

       The Court will overrule Defendant’s objection as premature. At trial, the

Government bears the burden of proving beyond a reasonable doubt that

defendants committed the crimes charged. In its response to this motion, the

Government has represented to the Court – and to the defendants – that it will not

use testimony related to Eurasian criminal money laundering schemes in its case-

in-chief. The Government represents it will attempt to introduce the evidence only

if it is relevant as rebuttal evidence. Indeed, that commitment is inherent in the

type of disclosure made by the Government: a potential rebuttal expert that may be

called at trial.

       The Court makes this ruling with significant doubts as to whether the

probative effect of testimony would outweigh its prejudicial effect. Nevertheless,

at the pretrial stage, any determination of this matter would amount to mere

guesswork. Therefore, the Court will overrule Defendant’s objection without

prejudice.

       IT IS SO ORDERED.




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                                             DATED: August 3, 2020


                                             _________________________
                                             B. Lynn Winmill
                                             U.S. District Court Judge




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